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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA                                   *

       v.                                           *      Criminal No. GJH-19-0096

CHRISTOPHER PAUL HASSON                                    *

              *   *  *    *   *   *  *   *  *   *  *
  MOTION IN LIMINE TO EXCLUDE EVIDENCE OF DEFENDANT’S ALLEGED
 OPINIONS, AFFILIATIONS, AND INTENT TO COMMIT AN ACT OF VIOLENCE

       Defendant Christopher Hasson respectfully moves this Court in limine under Federal

Rules of Evidence 401, 403, and 404, as well as the First, Fifth, and Sixth Amendments to the

Constitution, for an order precluding the introduction at trial of any evidence regarding (1) any

opinions or viewpoints Mr. Hasson allegedly held or expressed, including but not limited to

those pertaining to white nationalism; (2) any association he allegedly had with other

individuals or groups, including those identifying as white nationalists or ascribing to white

nationalist beliefs; (3) any plans or preparations he allegedly made to commit an act of violence

or terrorism; and (4) any other uncharged bad acts Mr. Hasson is alleged to have committed.

I.     Procedural Background

       Mr. Hasson is charged in a four-count superseding indictment with one count of

possessing an unregistered silencer, under 26 U.S.C. § 5861(d) (Count One); one count of

possessing a silencer unidentified by serial number, under 26 U.S.C. § 5861(i) (Count Two);

one count of possession of a firearm by an unlawful user and addict of a controlled substance,

under 18 U.S.C. § 922(g)(3) (Count Three); and one count of possessing a controlled

substance, under 21 U.S.C. § 844(a) (Count Four). ECF No. 71.




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       The four charges to be resolved at trial are much narrower than the uncharged

allegations that the government has raised in its pretrial pleadings and that have been cited by

numerous media outlets. See, e.g., ECF No. 9 at 1–2 (describing Mr. Hasson as a “domestic

terrorist” and citing his alleged “extremist views”); ECF No. 42 at 2-5; Michael Kutzman,

“Judge refuses to toss Coast Guard officer’s gun charges,” Associated Press (Sept. 20, 2019)

(recently stating that Mr. Hasson was “accused of being a domestic terrorist”).             The

government has not charged Mr. Hasson with conspiring to, attempting to, or actually

committing an act of violence or terrorism. Nor do any of the charged counts require proof of

racial animus or prejudice. Nevertheless, the government has stated that the “current charges

. . . are the proverbial tip of the iceberg,” and has repeatedly invoked Mr. Hasson’s purported

beliefs and uncharged conduct throughout the proceedings in this case. ECF No. 9 at 1. Such

sensationalist allegations include that he is a white supremacist and that he was planning to

assassinate current and former elected officials. ECF No. 9 at 9–12; ECF No. 42 at 2–5

       Therefore, Mr. Hasson now moves in limine to preclude the government from

introducing evidence of Mr. Hasson’s alleged beliefs and associations, any alleged

preparations to commit an act of violence or terrorism, and any other uncharged bad acts. Such

evidence would be irrelevant, unfairly prejudicial, and violative of the First, Fifth, and Sixth

Amendments.

II.    Argument

       A. Evidence of Mr. Hasson’s Alleged Beliefs, Associations, and Uncharged Bad
          Acts Should Be Excluded as Irrelevant Under Federal Rules of Evidence 401
          and 404.

       “It is elementary that, for evidence to be admissible, it must be relevant to an issue

being tried.” United States v. Hedgepeth, 418 F.3d 411, 419 (4th Cir. 2005) (citing Fed. R.



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Evid. 402). Under Federal Rule of Evidence 401, evidence is relevant only if “it has a tendency

to make a fact more or less probable than it would be without the evidence . . . [and] the fact

is of consequence in determining the action.” Relevancy calls for an examination of the

“relation between an item of evidence and a matter properly provable in the case.” Fed. R.

Evid. 401 adv. comm. note. “Relevancy must thus be determined in relation to the charges

and claims being tried . . . .” Hedgepeth, 418 F.3d at 419 (emphasis added).

       Here, only four issues will be tried: whether Mr. Hasson possessed Tramadol; whether

he was an unlawful user and addict of a controlled substance in possession of a firearm;

whether he possessed an unregistered silencer; and whether he possessed a silencer

unidentified by a serial number. See ECF No. 71. None of these issues requires the factfinder

to examine Mr. Hasson’s purported beliefs or opinions. The only mental state the government

must establish is Mr. Hasson’s knowledge of the facts that constitute the possession offenses.

See Rogers v. United States, 522 U.S. 252, 254 (1998) (noting mens rea element of violation

of § 5861(d) requires government to prove defendant knew the item was a silencer); United

States v. Gilbert, 430 F.3d 215, 218 (4th Cir. 2005) (finding government must establish only

the defendant’s knowledge under § 922(g), not the defendant’s motive); United States v.

Fattaleh, 746 F. Supp. 599, 602 (D. Md. 1990) (“The offense of possession requires the

government to prove beyond a reasonable doubt that the defendant (1) knowingly (2) possessed

a controlled substance.”). Mr. Hasson’s alleged beliefs and opinions are not probative of guilt,

or of any other fact of consequence. Compare United States v. Newsom, 452 F.3d 593, 603

(6th Cir. 2006) (holding defendant’s tattoos “of a gun-wielding man” and the words “thug life”

“did not make it any more likely that he possessed the particular gun charged in the indictment

on the day in question”), with United States v. Skillman, 922 F.2d 1370, 1374 (9th Cir. 1990)



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(admitting testimony that defendant asked to attend a “skinhead” picnic as relevant to issue of

racial animus in civil rights case).

       Equally irrelevant are any alleged associations between Mr. Hasson and individuals or

groups who ascribe to white nationalist views or advocate for the use of violence. Mr. Hasson

is not charged with conspiracy or any other offense predicated on his membership in a group

or affiliation with others. Cf. United States v. Teran, 496 F. App’x 287, 292–92 (4th Cir. 2012)

(unpublished) (finding that “admission of gang-related evidence is appropriate ‘to demonstrate

the existence of a joint venture or conspiracy and a relationship among its members’” (citation

omitted)). Similarly, uncharged prior bad acts, including any alleged plans to commit acts of

violence or terrorism, are wholly irrelevant to the charged conduct. Indeed, the government

appeared to concede as much in its second motion for detention pending trial. See ECF No.

42 at 5 (arguing uncharged conduct should be considered by the Court at detention hearing

because “there is no requirement that the evidence of dangerousness relate to the charged

conduct”).

       Instead, as the government has made clear, evidence of Mr. Hasson’s alleged beliefs,

associations, and bad acts is relevant solely insofar as it might bear on Mr. Hasson’s character.

See ECF No. 42 at 1 (arguing that “[w]hen someone shows you who they are, believe them the

first time”). But under Federal Rule of Evidence 404(b), “[e]vidence of a crime, wrong, or

other act is not admissible to prove a person’s character in order to show that on a particular

occasion the person acted in accordance with the character.” Prior bad acts are admissible

only if they are (i) “relevant to an issue other than character,” (ii) “necessary to prove an

element of the crime charged,” and (iii) “reliable.” United States v. Byers, 649 F.3d 197, 206




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(4th Cir. 2011) (citations omitted). 1 However, as explained, uncharged allegations of domestic

terrorism are wholly irrelevant to the charges in this case. Even if the alleged bad acts were

marginally relevant—which they are not—the availability of non-Rule 404(b) evidence, such

as evidence of firearms allegedly found in Mr. Hasson’s home, renders the admission of the

evidence of uncharged alleged conduct unnecessary. See United States v. Lighty, 616 F.3d

321, 354 (4th Cir. 2010) (“[A]s the quantum of other non-Rule 404(b) evidence available to

prove an issue unrelated to character increases, the need for the Rule 404(b) evidence

decreases.”).

       Because evidence of Mr. Hasson’s alleged beliefs, associations, and uncharged conduct

is relevant only to an evaluation of Mr. Hasson’s character and does not bear on any fact

consequential to the charged conduct, such evidence should be excluded under Rules 401 and

404.

       B. Evidence of Mr. Hasson’s Alleged Beliefs, Associations, and Uncharged Bad
          Acts Should Be Excluded as Unfairly Prejudicial.

       Even if the Court finds that evidence of Mr. Hasson’s alleged beliefs, associations, and

preparations to commit violence is relevant to the charges at issue at trial, it should exclude

the evidence pursuant to Federal Rule of Evidence 403. Rule 403 provides that a court may

exclude evidence “if its probative value is substantially outweighed by a danger of . . . unfair

prejudice, confusing the issues, [or] misleading the jury.” “Evidence is unfairly prejudicial

when there is a genuine risk that the emotions of a jury will be excited to irrational behavior,

and . . . this risk is disproportionate to the probative value of the offered evidence.” PBM

Prods., LLC v. Mead Johnson & Co., 639 F.3d 111, 124 (4th Cir. 2011) (citation omitted).



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        Rule 404(b) evidence must also satisfy the requirements of Federal Rule of Evidence
403 to be admissible. Id.
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Unfair prejudice “speaks to the capacity of some concededly relevant evidence to lure the

factfinder into declaring guilt on a ground different from proof specific to the offense charged.”

United States v. Basham, 561 F.3d 302, 327 (4th Cir. 2009) (quoting Old Chief v. United States,

519 U.S. 172, 180 (1997)).

       Here, the danger of unfair prejudice is overwhelming. “Few terms have a greater

inherent risk of prejudgment than terrorism. . . .” United States v. Awami, 541 F. Supp. 2d

945, 951 (N.D. Ohio 2008); see also United States v. Al-Moayad, 545 F.3d 139, 166 (2d Cir.

2008) (“[T]here can be little doubt that in the wake of the events of September 11, 2001,

evidence linking a defendant to terrorism in a trial in which he is not charged with terrorism is

likely to cause undue prejudice.” (citation omitted)). After multiple mass shootings, fears of

domestic terrorism and mass shootings are rising. See Megan Brenan, “Nearly Half in U.S.

Fear Being the Victim of a Mass Shooting,” Gallup.com (Sept. 10, 2019), available at

https://news.gallup.com/poll/266681/nearly-half-fear-victim-mass-shooting.aspx.            White

nationalism is also increasingly viewed as a “critical threat.” Joanna Piacenza, “After El Paso,

More Voters See White Nationalism as a Threat,” MorningConsult.com (Aug. 7, 2019),

available   at   https://morningconsult.com/2019/08/07/after-el-paso-more-voters-see-white-

nationalism-as-a-threat/.    The admission of sensationalist evidence of alleged white

nationalism and domestic terrorism would do little except prey on these anxieties and

impassion the jury on improper grounds.

       In addition to stoking the jurors’ fears, evidence of Mr. Hasson’s purported white-

supremacist beliefs would invite the jury to improperly decide the case based on their dislike

of Mr. Hasson, rather than on the elements of the charged offenses. Such misdirection is

prohibited. “There is no place in a criminal prosecution for gratuitous references to race. . . .



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Elementary concepts of equal protection and due process alike forbid a prosecutor to seek to

procure a verdict on the basis of racial animosity.” United States v. Bowman, 302 F.3d 1228,

1240 (11th Cir. 2002) (citation omitted) (finding the district court erred in admitting evidence

of club’s “whites-only” policy because any limited probative value was outweighed by the

danger of unfair prejudice). The unnecessary injection of Mr. Hasson’s alleged personal

beliefs into the trial would create the real risk of a verdict based on the factfinder’s prejudice

against him.

       And where, as here, the evidence at issue is far removed from the actual charges in the

case, the danger of unfair prejudice is even higher. In United States v. Ham, the Fourth Circuit

considered whether the district court had erred in admitting evidence of child molestation and

homosexuality in a case involving racketeering and mail fraud. 998 F.2d 1247, 1251–52 (4th

Cir. 1993). The evidence had been presented for the limited purpose of supporting the

government’s theory that the defendants were motivated to conspire to murder the victim to

silence his threats to go public with the molestation evidence. Id. at 1252. Although it found

the evidence was relevant, the Fourth Circuit vacated the defendants’ convictions. Id. at 1252–

53. In doing so, the court concluded that the evidence had only incremental probative value

because it was neither “direct proof of motive” nor “was it essential proof.” Id. at 1253. Hence,

“[i]n the face of almost certain and considerable prejudice,” the court determined that the

evidence should not have been admitted. Id.

       Here, evidence of alleged white nationalism and domestic terrorism has no bearing on

the possession-based offenses charged against Mr. Hasson. The government has charged Mr.

Hasson with only four counts, none of which is in any way tied to white nationalism or

domestic terrorism. The admission of such evidence would impermissibly enlarge the scope



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of the trial far beyond what is charged in the indictment, threatening to divert the jurors’

attention from the issues actually before them.       Admitting evidence of alleged white

nationalism and terrorism would thus confuse the issues, mislead the jury, and unfairly

prejudice Mr. Hasson.

       This problem is compounded by the nature of white nationalism and domestic terrorism

evidence, which is far more inflammatory than evidence of mere possession of firearms or

controlled substances. When weighing evidence’s probative value against the danger of unfair

prejudice, courts should exclude evidence that is “more sensational or disturbing than the

crimes with which” the defendant has been charged. United States v. Boyd, 53 F.3d 631, 637

(4th Cir. 1995); see also United States v. Herron, 10-cr-0615, 2014 WL 1871909, at *4

(E.D.N.Y. May 8, 2014) (“[E]vidence is not unduly prejudicial when it is not ‘more

inflammatory than the charged crime[s].” (quoting United States v. Livoti, 196 F.3d 322, 326

(2d Cir. 1999))). Because white nationalism and domestic terrorism are far more lurid than

the possession-based crimes with which Mr. Hasson is charged, the government should be

precluded from introducing such evidence.

       C. Admission of White Supremacy Evidence Would Violate Mr. Hasson’s Rights
          Under the First, Fifth, and Sixth Amendments.

       Evidence of Mr. Hasson’s alleged belief in white supremacy and his alleged association

with others holding similar beliefs is not only irrelevant and prejudicial, its admission would

violate his rights under the First, Fifth, and Sixth Amendments. In Dawson v. Delaware, the

prosecution introduced, at the penalty phase of a state criminal trial, evidence of the

defendant’s Aryan Brotherhood tattoos, as well as a stipulation describing the Aryan

Brotherhood as a white racist prison gang. 503 U.S. 159, 161–62 (1992). On appeal, the

Supreme Court held the admission of this evidence was constitutional error that violated the

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defendant’s First Amendment right to join groups and associate with others. Id. at 163, 165.

The Court acknowledged that although “the Constitution does not erect a per se barrier to the

admission of evidence concerning one’s beliefs and associations,” it does prohibit the

introduction of evidence that “prove[s] nothing more than [a defendant’s] abstract beliefs.” Id.

at 165, 167. Because “the Aryan Brotherhood evidence was not tied in any way to the murder

of [the defendant’s] victim,” and was not relevant to proving an aggravating circumstance at

sentencing, its admission violated the defendant’s First Amendment rights. Id. at 166–67.

       The principle underlying Dawson is even more relevant here, where the evidence would

be introduced during the guilt phase of a criminal proceeding. The Constitution protects Mr.

Hasson’s right to freely associate with others who share his beliefs, regardless of the content

of those beliefs. See id. at 167 (quoting Texas v. Johnson, 491 U.S. 397, 414 (1989) (“[T]he

government may not prohibit the expression of an idea simply because society finds the idea

itself offensive or disagreeable.”)).    Introduction of Mr. Hasson’s alleged ties to white

nationalism would do nothing more than inject the proceeding with irrelevant, highly

inflammatory evidence in violation of his First Amendment rights.

       Moreover, “it is inconsistent with our traditional conception of a fair trial to permit the

introduction of any evidence which might influence a jury to convict a defendant for any reason

other than that he is guilty of the specific offense with which he is charged.” United States v.

Harris, 331 F.2d 185, 187 (4th Cir. 1964). “The Sixth Amendment guarantees a criminal

defendant the right to an impartial jury. . . . . ‘The failure to accord an accused a fair hearing

violates even the minimal standards of due process.’” Fullwood v. Lee, 290 F.3d 663, 677 (4th

Cir. 2002) (citation omitted). When irrelevant and emotionally charged evidence is improperly

before a jury, the defendant is denied his right to “the trial by peers promised by the



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Constitution of the United States, conducted in accordance with centuries-old fundamental

concepts of justice.” McKinney v. Rees, 993 F.2d 1378, 1385–86 (9th Cir. 1993) (“It is part of

our community’s sense of fair play that people are convicted because of what they have done,

not who they are.”) (finding state prosecution’s introduction of irrelevant evidence of

defendant’s “fascination with knives and with commando lifestyle” impermissibly increased

likelihood that defendant was convicted “on the basis of his suspicious character and previous

acts,” in violation of the defendant’s right to due process). Admission of Mr. Hasson’s alleged

beliefs would fatally infect Mr. Hasson’s trial in violation of his rights under the Fifth and

Sixth Amendments.

III.   Conclusion

       For the reasons described above, this Court should prohibit the government from

introducing evidence of Mr. Hasson’s purported beliefs and associations, including those

pertaining to white nationalism, as well as any uncharged alleged bad acts, including any

alleged plans to commit an act of violence or terrorism.


                                           Respectfully submitted,

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